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                                     of 2
                                                                                       V


               GRANTED              The moving party is hereby OR-DERED
                                    to providc a copy ofthls Order to rny pro
                                    se partles who have entered rn
                                    ippearlnce in this action wlthin l0 days
                                    from the date ofthis order.                     Dennis Jo Hall
                                                                                    Jefferson District COurt Judge
                                                                                    DATE OF ORDERINDICATED ON AT「 ACHMENT

      OF COLORADO
      Court Address: 10o Jefferson COunty Parkway                               (iO JcffersOn(:oullty District COurt ist   D
                        Golden,Colorado 80401                                   Filing Datc:Nov 18 2011 8:43Aヽ 1■ lST
                                                                                Fili:lg ID:40959650
      Phone Numberi(303)271‑6145
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      Plainti∬:
      GEORGE MAGNANI                                                            ▲ COURT        USE ONLY▲
      V.

                                                                          Casc No.:201lCV2134
      Defendant:
      MARIE DALTON                                                        Divi              ctm:



            ORDER GRANTING DEFAULT JUDGMENT AGAINST DEFENDANT PIARIE
                                       DALTON

           The District Court, having examined the file of the above captioned case and the documents
     contained therein, finds that Marie Dalton was served with Plaintiff s Complaint on September 20,
     20ll via substituted service, more than 20 days have expired from the date of service, and no
     responsive pleadings have been filed.

       Therefore, the Court orders as follows:
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               Judgment is hereby entered in favor of Plaintiff George Magnani.
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               Default judgment is hereby granted against Defendant Marie Dalton.

       3.      Venue has been considered and is proper.

       4.      Plaintiff George Magnani is entitled to the full amount of $540,000.00, which represents
               his principal invesfinent of $100,000.00 plus twenty-percent monthly interest from
               December 12,2009 to December 12,2010 on that investment pursumt to the terms of the
               Agreement entered into between the parties.

       5.      Pursuant to C.R.S. $ l8-4-405, Paintiff is entitled to treble damages on all actual damages
               in the amount of $ 1,620,000.00.

       6.      In light of the facts presented in this case, the Court frnds that Marie Dalton was
               improperly transferred, has improperly exercised control over, and did convert at least
               $910,356.44 from fuchard Dalton/Universal ConsultingResources,Inc., whichrepresents
               investor funds that should have been issued to Plaintiff.




                                             § GOVERNMENT
                                             目     EXHIBIT
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                                     of 2




        ７′
              Therefore, Plaintiffis entitled to and awarded $910,356.44 from Defendant.

              PlaintiffGeorge Magnani is arso entitred to attomeys' fees and costs that have accrued
                                                                                                     up
              to the date of the entry of this judgment, in support of which plaintifls counsel shail
              provide a verified statement within fifteen (15) days ofthe entry of this order.

        9     Finally' Plaintiff will be entitled to post-judgment interest on this award in the amounr of
              eight-percent per annum.

        10     Intotal, Plaintiffceorge Magnani is awarded $910,356.44 in damages, plus attomeys
                                                                                                   fees
              and costs to be assessed hereafter, prus post-judgment interest fr-om
                                                                                    the date of iefaurt
              judgment at the rate of eight-percent per annum.


       Dated this                                         2011


                                             BY THE COURT:



                                             Distnct Court Judge
